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                   UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
                 COURT FILE NO. 20-CV-1213 (DSD/TNL)
________________________________________________________________________

Wanda Herrala,

               Plaintiff,
                                                         STIPULATION FOR
v.                                                          DISMISSAL

Comenity Bank, N.A.,

            Defendant.
________________________________________________________________________


The above parties stipulate, through their respective undersigned counsels, that all claims

in this action may be dismissed with prejudice, with each party to bear their own costs

and fees.



Date: August 28, 2020                        /s/ Bennett Hartz
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Date: August 28, 2020                        /s/ James J. Morrissey
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